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 11
 12                 UNITED STATES DISTRICT COURT
          CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
 13
 14
 15                                            Case No. 8:21-mc-00012
      IN RE: SUBPOENA TO MITEK
 16   SYSTEMS, INC.                            Related to Case No.
                                               2:20-CV-00319-JRG
 17               Petitioner,                  Pending in the United States District
                                               Court for the Eastern District of Texas
 18         v.
                                               MITEK SYSTEMS, INC.’S
 19   UNITED SERVICES AUTOMOBILE               CORPORATE DISCLOSURE
      ASSOCIATION                              STATEMENT AND NOTICE OF
 20                                            INTERESTED PARTIES
                  Respondent.
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                 MITEK’S CORPORATE DISCLOSURE STATEMENT AND NOTICE OF INTERESTED PARTIES
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  1        Pursuant to Federal Rule of Civil Procedure 7.1, Petitioner Mitek Systems, Inc.
  2 hereby states that it has no parent corporation and that no publicly held corporation
  3 owns 10% or more of its stock.
  4
  5        The undersigned, counsel of record for Mitek System, Inc., certifies that the
  6 following listed party (or parties) may have a pecuniary interest in the outcome of this
  7 case. These representations are made to enable the Court to evaluate possible
  8 disqualification or recusal.
  9       None.
 10
 11   Dated: March 22, 2021                    Respectfully submitted,
 12                                                  /s/ William Odom
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                 MITEK’S CORPORATE DISCLOSURE STATEMENT AND NOTICE OF INTERESTED PARTIES
